          Case 1-15-45585-cec          Doc 98     Filed 03/22/18        Entered 03/22/18 14:56:12



                                       UNITED STATES BANKRUPTCY COURT
                                        EASTERN DISTRICT OF NEW YORK


IN RE:                                                   :   CASE NO. 15-45585 - 608
                                                         :   CHAPTER 13
 MARILYN PADILLA
FERNANDO CASTEDO                                         :   JUDGE Craig
                                                         :   NOTICE OF FINAL CURE PAYMENT



The Chapter 13 Trustee, Michael J. Macco files this Notice of Final Cure Payment. The amount required to cure the
pre petition arrearage default in the claim listed below has been paid in full.

Name of Creditor: SELENE FINANCE, LP

Last four digits of any number used to identify the debtor’s account : 3894- PAY DIRECT & OUTSIDE PER LOAN
MOD PER 1-12-18 CT ORDR


Final Cure Amount

Court Claim#            Account#        Claim Asserted           Claim Allowed          Amount Paid


004                     3894/ORIG ACCT#XX6459                   $0.00                   $0.00
$0.00

Direct Amount Paid by Debtor                                                            $0.00

Amount of Prepetition Arrears                                                           $0.00

Total Amount Paid by Trustee                                                            $0.00


Monthly ongoing Mortgage Payment

Mortgage is Paid:

 Through the Chapter 13 Conduit                 X Direct by the Debtor(s)


Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee,
within 21 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s)
have paid in full the amount required to cure the default and stating whether the debtor(s) have (i) paid all
outstanding post-petition fees, costs, and escrow amounts due, and (ii) consistent with §1322(b)(5) of the
Bankruptcy Code, are current on all post-petition payments as of the date of the response.
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                                           CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing Notice of Final Cure Payment was served on the parties listed below by
ordinary U.S. Mail or served electronically through the Court’s ECF System at the e-mail
address registered with the Court on this 22 day of March , 2018.

MARILYN PADILLA
FERNANDO CASTEDO
1206 31ST DR.
ASTORIA, NY. 11106-


NORMA E. ORTIZ, ESQ.
c/o ORTIZ & ORTIZ, LLP
32-72 STEINWAY STREET- SUITE 402
ASTORIA, NY. 11103-

SELENE FINANCE, LP
9990 RICHMOND AVENUE- SUITE 400 South
ATTN: CASHIERING
HOUSTON, TX. 77042-

Creditor Attorney
U.S. Trustee


March 22, 2018                                                  /s/ Michael J. Macco
                                                                Michael J. Macco
                                                                Chapter 13 Trustee
